






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00010-CR







Steve Ramon, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT


NO. 33234, HONORABLE MARTHA J. TRUDO, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



Appellant's motion to dismiss this appeal is granted.  See Tex. R. App. P. 42.2(a). 
The appeal is dismissed.



				___________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Puryear and Henson

Dismissed on Appellant's Motion

Filed:   March 10, 2010

Do Not Publish


